         Case 1:21-cr-00292-RCL Document 20 Filed 03/31/21 Page 1 of 2




                              UNITED STATES DISTRICT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    )
                                            )
v.                                          )      Case No. 21-MJ-296 (GMH)
                                            )
CHRISTOPHER WORRELL,                        )
                                            )
Defendant.                                  )


                                NOTICE OF FILING VIDEO

       Defendant Christopher Worrell (“Defendant”), through counsel, gives notice that Exhibit

D to Declaration of John M. Pierce in support of Defendant’s Emergency Motion for

Reconsideration, ECF No. 16 is a DVD containing excerpts of video recordings. Defendant has

placed a copy of the DVD in the mail to Chief Judge Beryl A. Howell and counsel for Plaintiff.


Date: March 31, 2021                        Respectfully Submitted,



                                            John M. Pierce (PHV Admitted)
                                            355 S. Grand Avenue, 44th Floor
                                            Los Angeles, CA 90071
                                            Tel: (213) 400-0725
                                            Email: jpierce@piercebainbridge.com

                                            Attorney for Defendant Christopher Worrell
          Case 1:21-cr-00292-RCL Document 20 Filed 03/31/21 Page 2 of 2



                                   CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, March 31, 2021, I caused a copy of the

foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.



                                                      /s/ John M. Pierce
                                                John M. Pierce
